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            Exhibit G
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                                     D E PA R T M E N T O F T H E A I R F O R C E
                         HEADQUARTERS AIR FORCE FLIGHT STANDARDS AGENCY




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MEMORANDUM FOR CAPTAIN DANIEL W. KNICK (DOD ID# 1398165612)

FROM: HQAFFSA/CC

SUBJECT; Decision Regarding Religious Accomnuxiaiion Requesi-

Rofcrence: (a) DODI 1300,17. 1 Scpicmbor 2020. Kclifiioii.s Lihcrly in the Military.
            (b) API 48-110. 16 February 2018. Iminiinizalions ami (.'henio/>rophhi.\ie for the
            Prevention of Infcelious Diseases.
            (c) AIT'U 52-2. 28 July 2020. .■\eeoinnHnkilion of Religious Praetices in the /4;> Force.
            paragraph 1.4 and 1.5.
            (d) DAFI 52-201. 22 June 2021. Religions Freeihm in the Depariinent of the Air
            Force, paragraph 6.6.

1. I have received your requesi for a religiou.s based e.vempiion to all required immunizalions. As
pari of the review process, you spoke with ihe Tinker AFB Chaplain and received a briefing troni
the 'l'inkcr AFB Medical Group. On 4 Oct 21. Tinker AFB's Religious Resolution Team reviewed
your request, considered the Chaplains recommendalion and 1)11) NO I" recommend approval.

2. While your request appears to tie a sincerely held religious belief. 1 liave to balance that with
the compelling governnienl interest in prevenling a real atlverse impact to military readiness and
maintaining the health and safety ofoiir unit's civilian and iniliiaiy members. According to the
CDC and military health officials vaccinations are the least restrictive means to pre\ent the spread
of certain communicable diseases.


3. As the Commander of a F'icld Operating Agency. D.MT 52-201 para 6.6.1 grants me the
authority to approve or deny requests for ti religious e.xemption to immuni/alion requirements.
Under this authority. I have decided to DENY your request for religious e.xeinption to all Air
Force directed immunizalions.




                                                                   Commander
